Case 1:11-cv-20427-KMW Document 257-6 Entered on FLSD Docket 02/13/2012 Page 1 of 3




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Case 1:11-cv-20427-KMW Document 257-6 Entered on FLSD Docket 02/13/2012 Page 2 of 3



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Case 1:11-cv-20427-KMW Document 257-6 Entered on FLSD Docket 02/13/2012 Page 3 of 3




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